                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE
                          SOUTHERN DIVISION

LENZEE RADER,                  )
                               )
                               )
                  Plaintiff,   )
                               )
                               )                    Civil Action No.
v.                             )
                               )
TACALA TENNESSEE CORP.,        )
                               )
TACALA, LLC, AND MARKO BOTROS, )
                               )
                  Defendants.  (


                            NOTICE OF REMOVAL

          COME NOW Defendants, Tacala Tennessee Corp., Tacala, LLC, and Marko

Botros (collectively “Defendants”), by and through their undersigned counsel, and

pursuant to 28 U.S.C. § 1441, as amended, hereby give notice of removal of Case

No. 19-0029 from the Chancery Court of Hamilton County, Tennessee to the United

States District Court for the Eastern District of Tennessee, Southern Division. In

addition to removing this matter, Defendants specifically reserve the right to assert

any defenses available under Rule 12(b) of the Federal Rules of Civil Procedure. As

grounds for removal, Defendants state as follows:

                       I. PROCEDURAL BACKGROUND
          On January 14, 2019, plaintiff, Lenzee Radar (hereinafter "Radar" or

"plaintiff"), commenced a civil action against Tacala Tennessee Corp., Tacala, LLC,



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and Marko Botros in the Chancery Court of Hamilton County, Tennessee, currently

pending as Civil Action Number 19-0029. Plaintiff’s original complaint alleged sex

discrimination, retaliation, and hostile work environment claims under the

Tennessee Human Rights Act and Tennessee common law tort claims for intentional

and/or negligent infliction of emotional distress. See Exhibit A. On January 14,

2019, Plaintiff also filed a Charge of Discrimination with the Equal Opportunity

Employment Commission (“EEOC”) alleging sex discrimination, retaliation, and

hostile work environment claims under Title VII of the Civil Rights Act of 1964.

See Exhibit B. On November 14, 2019, the EEOC issued its Dismissal and Notice

of Rights. See Exhibit C. Subsequently, on January 31, 2020, Plaintiff filed a

Motion to Amend Complaint seeking leave to amend her complaint to assert the

Title VII claims contained in her Charge of Discrimination. See Exhibit D. The

Chancery Court of Hamilton County granted Plaintiff’s Motion to Amend Complaint

on February 13, 2020. See Exhibit E. Plaintiff filed her Second Amended Complaint

adding Title VII sex discrimination, retaliation, and hostile work environment claims

on February 20, 2020. See Exhibit F.

                  II. FEDERAL QUESTION JURISDICTION
      1.     Removal of this case is proper under 28 U.S.C. § 1441(a), which

provides in pertinent part, that “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the



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defendant or the defendants, to the district court of the United States for the district

and division embracing the place where such action is pending.”

      2.     This Court has original jurisdiction pursuant to 28 U.S.C. § 1331,

because it is apparent on the face of Plaintiff’s Second Amended Complaint and her

underlying EEOC charge that this action presents substantial questions of federal

law of alleged employment discrimination and retaliation under Title VII, which is

a civil action “arising under the Constitution, laws, or treaties of the United States.”

(See Exhibits B and F.) This Court also has supplemental jurisdiction over any

related claims arising under Tennessee statutory or common law, which arise out of

the same operative facts as Plaintiff’s federal claims and “form part of the same case

or controversy under Article III of the United States Constitution.” 28 U.S.C. §

1367(a). This action, therefore, is properly removable. See 28 U.S.C. § 1441(a), (c).

                      III. REMAINING REQUIREMENTS
      3.     This case is a civil action within the meaning of the Acts of Congress

relating to the removal of cases.

      4.     Plaintiff filed her Second Amended Complaint on February 20, 2020,

and Defendants Tacala Tennessee Corp., Tacala, LLC and Marko Botros were

through their counsel of record on February 20, 2020.

      5.     This Notice of Removal is timely filed within thirty (30) days of

"receipt by the defendant, through service or otherwise, of a copy of an amended



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pleading, motion, order or other paper from which it may first be ascertained that the

case is one which is or has become removable…." 28 U.S.C. § 1446(b).

      6.     True and correct copies of all pleadings filed to date are attached hereto

as Exhibit G and incorporated herein by reference. See 28 U.S.C. § 1446(a).

      7.     This Notice of Removal is filed within the district and division in which

the State court action is pending. See 28 U.S.C. § 123(a)(3). The United States

District Court for the Eastern District of Tennessee, Southern Division, is the court

and division covering the place where this action is pending in state court.

      8.     Federal jurisdiction exists under 28 U.S.C. § 1331, as Plaintiff's

Complaint raises issues which require this Court to apply the laws and regulations

promulgated according to Title VII of the Civil Rights Acts of 1964, 42 U.S.C. §

2000e et seq.

      9.     All properly served defendants have joined in and consented to the

removal of this matter. 28 U.S.C. § 1446 (b)(2)(A).

      10.    Contemporaneous with the filing of this Notice of Removal,

Defendants have filed a copy of the same with the clerk of the Chancery Court of

Hamilton County, Tennessee. See 28 U.S.C. § 1446(d). Written notice of the filing

of this Notice of Removal has also been served upon Plaintiff through her counsel

of record.




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      11.    Defendants reserve the right to amend or supplement their Notice of

Removal by adding any jurisdictional defenses which may independently support a

basis for removal. Furthermore, in the event any question arises as to the propriety

of the removal of this action, Defendants respectfully request the opportunity to

present a brief and oral argument in support of removal.

             IV. ADOPTION AND RESERVATION OF DEFENSES
      Nothing in this Notice of Removal shall be interpreted as a waiver or

relinquishment of any of Defendants’ rights to assert any defense or affirmative

matter, including, but not limited to, the defenses of: (1) lack of jurisdiction over the

person; (2) improper venue; (3) insufficiency of process; (4) insufficiency of service

of process; (5) improper joinder of claims and/or parties; (6) failure to state a claim;

(7) failure to join indispensable parties; or (8) any other pertinent defense available

under Tennessee or Federal Rule Civil Procedure 12, any state or federal statute, or

otherwise.

                                 V. CONCLUSION
      WHEREFORE, PREMISES CONSIDERED, Defendants pray that the Court

will take jurisdiction of this action and issue all necessary orders and process to

remove this action from the Chancery Court of Hamilton County, Tennessee, to the

United States District Court for the Eastern District of Tennessee, Southern Division.




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                                    s/ Amy Jordan Wilkes
                                    K. Bryance Metheny (TN Bar # 025150)
                                    Amy Jordan Wilkes (TN Bar # 028654)


                                    ATTORNEYS FOR DEFENDANTS
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                                    TACALA, LLC

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document by Notice
of Electronic Filing, or, if the party served does not participate in Notice of
Electronic Filing, by U.S. First Class Mail, hand delivery, fax or email on this the
27th day of February, 2020:

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                                      s/ Amy Jordan Wilkes
                                      OF COUNSEL




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